       Case 19-12097-mdc              Doc 126        Filed 02/09/22 Entered 02/09/22 13:31:35   Desc Main
                                                    Document      Page 1 of 2


              Joseph Walker




                                 Eastern District of Pennsylvania

                19-12097
                                                                             X



Sche dule I : Your I nc om e                                 AMENDED




Pa rt 1 :   De sc ribe Em ployme nt




                                                               ✔




Pa rt 2 :   Give De t a ils About Mont hly I nc ome




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    Case 19-12097-mdc
       Joseph Walker
                                    Doc 126          Filed 02/09/22 Entered 02/09/22 13:31:35 Desc Main
                                                                                          19-12097
                                                    Document      Page 2 of 2    if known




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         Public Assistance, SSI - disability, TANF Public Assistance, LIHEAP                  1,535.00
                                                                                                    0.00
                                     Anticipated tax refund for overpayment of income taxes taxes in 50.00
                                                                                                     2020 and 2021.

                                                                                              1,585.00

                                                                                              1,585.00                             1,585.00

                                                                          Schedule J



                                                                                                                      Schedule J
                                                                                                                                       0.00

                                                                                                                                   1,585.00
                     Summary of Your Assets and Liabilities and Certain Statistical Information,




              Debtor may get approx. $600.00 tax refund of U.C. taxes and additional Child Care Credits for 2020 and
✔             2021. TANF will end in Apr. 2022. Income includes anticipated LIHEAP.
